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                                      U.S. DISTRICT COURT
                                     DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :

                                                :

            vs.                                 :       Case No.: 1:22-mj-00122-RMM


JONATHAN WILLIS
                                                :
       DEFENDANT
                                                :


      SUPPLEMENT TO JONATHAN WILLIS’S MEMORANDUM IN SUPPORT OF
                          PRETRIAL RELEASE

        COMES NOW Jonathan Willis, and through his attorney, James N. Papirmeister, Esq., of the

Law Offices of James N. Papirmeister, P.C., and hereby submits this Supplemental Memorandum in

support of Mr. Willis’s Pretrial Release on suitable conditions in this case, and in support thereof,

states as follows.


     IN APPLYING THE FOUR FACTORS, THIS CASE IS DIFFERENT FROM GLOVER


        After this Court’s reference yesterday to the recent case of United States v. Glover, No 21-

mj-609, this counsel desires to compare and contrast that case with what we submit is a very different

type of case for Jonathan Willis. Reference to Chief Judge Beryl A. Howell’s twelve-page Order of

Detention in Glover, including her Honor’s eight-page “Attachment to Order of Detention Pending

Trial,” will be made by “Howell, p. X”, with references to the ECF page numbers at the top of

Document 23 in that case [all of which is included herewith as Exhibit 1] .

        Judge Howell’s analysis of factor 1 in Glover, “Nature and Circumstances of the Offense”

reveals startling allegations that are simply non-existent in our case:


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1. Upon entry to Glover’s residence by agents at 6 am to execute a search warrant, the naked

   Glover had his computer on revealing an online video conference in progress with other

   men masturbating to two ‘disturbing” child pornography videos displayed on Glover’s

   computer. Howell, p. 6.

2. One video displayed an adult male putting his erect penis on and around an infant’s mouth,

   and the other video displayed an adult male penetrating an infant’s vagina. Id.

3. Glover waived Miranda and admitted to watching child pornography through mobile

   applications, such as “Telegram” and having child pornography on his phone. Id., 6-7.

4. Glover participated in at least four different chat groups dedicated to the sexual

   exploitation of children on Telegram, which were accessible through computers and

   mobile devices. Id., 7.

5. The Government seized thirteen electronic devices from Glover’s residence which are

   being subjected to forensic examinations. Id.

6. The Government recovered 125 videos and images of child pornography saved on

   Glover’s laptop and iPhone, which included depictions of infants and toddlers. Id.

7. The Government presented a substantial evidentiary proffer describing Glover’s

   participation in an online community to exchange links and videos containing child

   pornography which uses encryption and other privacy-enhancing techniques to avoid

   detection by law enforcement. Id.

8. One of the locations where Glover stored child pornography was a sophisticated,

   encrypted Telegram chat room used by child exploitation offenders which the

   Government had to infiltrate to detect Glover’s presence as a member. It was focused on

   especially young children, infants, and toddlers. Id.



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       9. Glover was apparently an administrator of one of the Telegram chat rooms where his

           fellow participants discussed methods to avoid law enforcement detection, and he was

           found to have “bolstered his bona fides” as a “true dad”, since he actually was a non-

           custodial father of two children. Id., 7-8.

       10. Judge Howell found Glover used sophisticated and secure technology and applications

           “for a lengthy period of time” and was apparently “so deeply involved” in this depraved

           online community of like-minded men. Id., 8.

The allegations against Mr. Willis pale by comparison to the Glover case.

       While not attempting to minimize the allegations against Mr. Willis, the substantial proffer in

Glover was dramatically more troubling, and extensive, and depicted a long-term preoccupation by

Glover with sexual depravity involving very young children, including infants. He regularly

participated in an organized group of like-minded men involved in mutual sexual activity fueled by

extremely depraved child pornography. It involved multiple victims, and videos depicting

horrendous acts of sexual child abuse. It was found by the Court to be a long-standing

preoccupation. The proffer described caches of child pornography found in Glover’s possession, his

active and enthusiastic participation in encrypted chat rooms focused on sexually exploiting infants

and toddlers, admissions by Mr. Glover, and extensive electronics and efforts to avoid law

enforcement.

       Judge Howell’s analysis of factor 2, “Weight of the Evidence,” similarly illustrates a

significant distinction from Mr. Willis’s case. There are no allegations as to Mr. Willis regarding his

possession of child pornography, or of extensive electronics. There is no allegation of the use of

encryption software to avoid law enforcement detection. There is no allegation of his participation in

special chat room groups devoted to sexual exploitation of children. There is no allegation of his



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participation with other males in mutual masturbation while watching videos depicting infants being

actively abused and subjected to fellatio and sexual intercourse by adult males. There is no

allegation against Mr. Willis indicating any proclivity toward sexual arousal by infants and toddlers.

There are no allegations involving multiple alleged victims as in Glover. There is no allegation of

involvement with any illicit activity “for a lengthy period of time,” supra, as was the case in Glover.

Unlike the case with Glover, there are no statements or admissions by Mr. Willis.

       In the ‘Weight of the Evidence” analysis for Mr. Willis’s case, there is no allegation of any

interaction with any other minor except the one alleged victim. This is not a case involving a chat

room, but rather the “Snapchat” application, where users often receive random, and unsolicited pop-

up messages from complete strangers, that can be ignored or explored. There are not only no

statements made to law enforcement here, there are no statements at all attributed to Mr. Willis. The

allegations describe someone using an electronic medium purportedly matched to Mr. Willis’s

subscriber information, communicating by text with the alleged victim. There are no recorded

conversations, or audio transmissions, or any evidence of even a single conversation between Mr.

Willis and the alleged victim. As far as the Complaint and Government’s memorandum detail, there

appears to be no photographic depictions of Mr. Willis’s face in any of the chats or photos or videos

purportedly sent by him.

       The transcripts contained in the Complaint as well as in the Government’s detention memo,

depict a six-day period in April 2022 where Mr. Willis purportedly engaged in messaging and

exchanging lewd pictures with the alleged victim. Then there are three days in May, 2022 where he

purportedly engaged in similar activity with an undercover officer posing as the alleged victim. This

constitutes neither extensive evidence, nor evidence of long-standing illicit activity. It is rather




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insubstantial evidence, in comparison with the evidence proffered in the Glover case, which Judge

Howell termed “overwhelming.” Id., 9.

       Further distinction can be found in comparing factor 3 “History and Characteristics of the

Person” between the Glover case and Mr. Willis’s case. Judge Howell found as a serious counter to

his otherwise long and stable career history, and commendable public life, that Glover was caught by

agents, naked, and involved at 6 am with other males online, while videos were streaming to the group

of masturbating men, which depicted the erect penises of adult males sexually engaging with infants,

in their mouth and vagina! Id.

       Lastly, in analyzing factor 4, the potential “Danger to the Community,” Judge Howell took

the totality of circumstances found as to factors 1 to 3, and added to them, that Mr. Glover’s lead

third-party custodian, his Aunt, was on remission from a serious illness, who admitted in earlier

testimony, that she was unfamiliar with the mobile applications and technologies that Glover used to

access child pornography. Id., 11. Despite a proposal to remove Glover’s bedroom door, this did “not

assuage the Court’s concerns that defendant might continue to engage secretly in other exploitative

acts, or communicate with individuals performing exploitative acts, in areas of Ms. Contee’s home

offering more privacy than his doorless bedroom, like a bathroom or other room with a door.” Id., 11.

Such concerns would be misplaced in Mr. Willis’s case. This is not just because he would share

merely a one-bedroom, one-bath apartment with both of his parents. It is also because the totality of

circumstances in his case are vastly less concerning than in the Glover case.

       The allegations against Mr. Willis, even if assumed true, simply do not demonstrate as in

Glover, the depth and breadth of depravity and extensive and long-term involvement in sexual

exploitation of minors, particularly infants and toddlers. Nor, as is the case in Glover, do the Willis

allegations demonstrate the apparent obsession, preoccupation with, and sexual proclivity toward



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infant children, or the participation in special groups, with special technology to thwart law-

enforcement.

       Jonathan Willis comes from a law-abiding, modest, and conservatively behaving family. He

is utterly shocked and jolted by his arrest and incarceration in the D.C. Jail. Based on his demeanor

during this counsel’s several hours with him in the jail, the paucity of most all the concerning factors

indicating future dangerousness that were present in Glover, and his parents reaction to this arrest,

Jonathan Willis is deterred to his core. It is this counsel’s impression, he will be “hyper-compliant”

with all conditions of release imposed by the Court. His parents’ immediate uprooting from their near

life-long home in Kalamzoo, Michigan to indefinitely relocate to Bethesda, Maryland, indicate their

commitment and desire to be reliable and trustworthy custodians. They have a vested interest in

Jonathan’s compliance with pretrial conditions and ensuring absolutely no misbehavior whatsoever.

Jonathan’s parents are appalled at the allegations against Jonathan in this case. They would not

countenance the slightest indication of misbehavior from their son on their watch. They appear to be

the unusual sort of people that would actually report Jonathan to the Pretrial Services Department,

and return back to Michigan, if they saw any indication of his failure to comply with release

conditions, and even the slightest indication of any contact with minors, or any inappropriate behavior

at all. Even when Jonathan may be approved by PTS to leave out his apartment for a therapy

appointment or legal appointment, he will be accompanied by at least one of his parents.

       Jonathan’s restriction to his home, on a 24-hour curfew, with electronic monitoring, GPS

monitoring, with very limited and monitored computer use, his engaging in an immediate and

comprehensive psychosexual evaluation, and immediate therapy, both with ATSA Clinical members,

and other measures we suggested, will abundantly assure a de minimis risk of danger to the

community.



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                                        ADDITIONAL ITEMS

          We have attached as Exhibit 1- the Order of Detention in U.S. v Glover, as previously

discussed. Exhibit 2 is a letter from the President of the Interior Design company that Sherry Willis

has worked for about 23 years. Ms. Leslie Thomas not only attests to the dependability of Sherry

Willis for 23 years, but also to how Sherry and Jim Willis previously left their home to live with

Sherry’s mother and provide in-home care for seven years when the mother became paralyzed.

Exhibit 3 is the Discharge of Mortgage indicating the Willis’s have paid off their mortgage in full to

their home in Michigan. They are willing to post that home as collateral if the Court deems it

necessary, to ensure Jonathan’s appearance at trial. Exhibit 4- is the CV of Dr. Ronald I Weiner,

Ph.D. Exhibit 5 is some information about Clinical & Forensic Associates.

          Dr. Weiner indicated today that due to his and his wife’s high risk for COVID complications,

he can no longer conduct an evaluation of Jonathan or anyone at the D.C. Jail. Dr. Weiner is in his

70’s and his wife is immunocompromised from undergoing extensive treatment for bone marrow

cancer.

                                              CONCLUSION


          Allegations in Mr. Willis’s case involving recent and short-lived inappropriate contact with a

singular, 14-year old girl are troubling for sure. His case is in an entirely different category, however,

from the one alleged against Mr. Glover. The nature of the allegations in Glover, the weight of the

evidence, his associations, his long-standing involvement in illicit behaviors, the physical activity he

was seen engaging in, the physical evidence found in his possession, and the technology he employed

to thwart detection, all result in a different calculus in terms of future dangerousness of Glover,

compared with Mr. Willis. The two cases are significantly different, and they call for differing

decisions with respect to pretrial release.


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                                   Respectfully submitted,


                                   ________/S/______________________
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                        CERTIFICATE OF ELECTRONIC SERVICE

       This Memorandum in Support of Pretrial Release was filed on ECF this 21st day of June,
2022 and copies were electronically served on the Government.



                                                  ___________/S/__________
                                                  James N. Papirmeister




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